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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA

       NOTICE REGARDING PRETRIAL CONFERENCE, PLEA HEARINGS, AND
                        JURY SELECTION BEFORE
     THE HONORABLE JOSEPH DAWSON, III, UNITED STATES DISTRICT JUDGE

                      NOTICE OF PRETRIAL CONFERENCES

PLEASE TAKE NOTICE that the following cases are scheduled for Pretrial Conference in the
McMillian Federal Building, 401 W Evans Street, Florence, South Carolina, Courtroom TBD,
on:
                            THURSDAY, FEBRUARY 23, 2023

THE Defendant and his/her attorney are required to be present at this conference either to
conduct a pretrial and/or plea, or to schedule the dates of trial. Each attorney is required to confer
with the United States Attorney’s Office and review the discovery material before the pretrial
conference.

NOTICE TO COUNSEL: If a continuance is needed, Motions to Continue will still need to be
filed on the docket, with a speedy trial waiver signed by the defendant, even if Notices of
Request for Protection have been filed.

All plea bargaining must be complete prior to Pretrial Conference.

MOTIONS TO CONTINUE MUST BE FILED NO LATER THAN FEBRUARY 16, 2023.

ANY PLEA AGREEMENTS SHOULD BE SCANNED AND ELECTRONICALLY FILED BY
COUNSEL BY February 16, 2023.

                        NOTICE OF CHANGE OF PLEA HEARINGS


PLEASE TAKE NOTICE that the PLEA HEARING for any defendant who wishes to enter a
Plea of Guilty will be held after the Pretrial Conference on February 23, 2023.

US Attorneys: Email individual Penalty and Element Sheets to Sharon Meyer in the Clerk’s
Office 7 days prior to the Pretrial Conference. Make sure they correctly reflect the exact
elements and penalties (and drug amounts/types, if applicable) for the particular
defendant/crimes and that they correctly reflect the counts to which it is anticipated each
defendant will plead.
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                               NOTICE OF JURY SELECTION

PLEASE TAKE NOTICE that all cases in which a guilty plea is not entered are scheduled for
JURY SELECTION in the McMillian Federal Building, 401 W Evans Street, Florence, South
Carolina, Courtroom #1, on:

                          MONDAY, MARCH 13, 2023, at 9:00 AM

The Jury List is available 7 days before jury selection. In accordance with Local Rule 47.02, the
Court may require potential jurors to respond to written questionnaires and may make the
responses available to counsel or parties with cases on the relevant trial roster are allowed access
to this information. Any other person submitting a request for this information must petition the
court for approval. A Juror Questionnaire/List Request Form must be docketed in the case.
Please visit http://www.scd.uscourts.gov/records/copies.asp for more information.

**ALL ATTORNEYS ARE REQUIRED TO USE THE ELECTRONIC COURTROOM
PRESENTATION SYSTEM FOR TRIAL. If your case goes to trial and you have not
participated in the electronic courtroom training, please contact Sharon Meyer (843-676-3824)
regarding use to the electronic system. Training will not be conducted the morning of trial or the
day prior to trial.

PLEASE CONTACT Sharon Meyer, Courtroom Deputy:
   1. Immediately if your client is on bond and is arrested in another venue;
   2. If any motion filed with the court is resolved prior to the Pretrial;
   3. For all questions regarding criminal cases;
   4. And if you wish to meet with Judge Dawson the morning of Pretrials and do not have a
      previously scheduled meeting. Do not come to Chambers without contacting Sharon first.

                                                               Entered at the direction of the Court
                                                                     ROBIN L. BLUME, CLERK
                                                                           US DISTRICT COURT
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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF SOUTH CAROLINA

                          Honorable Joseph Dawson, III

               Pretrial Conferences ‐Thursday, February 23, 2023

Notice of Deadline ‐Motions to Continue are due no later than Thursday,
February 16, 2023; Jury Selection is set for Monday, March 13, 2023, at 9:00 AM.

1:30 PM
4:22‐cr‐580‐JD                                AUSA Amy Bower
*all defendants on bond
Bhagavan Mahamayavi Antle                     Atty Andrew Moorman (Ret.)
Andrew Jon Sawyer                             Atty Christopher Adams (Ret.)
Meredith Bybee                                Atty Deborah Barbier (Ret.)
Charles Sammut                                Atty Christopher Rheinheimer (Ret.)
Jason Clay                                    Atty Jospeh Griffith, Jr. (Ret.)
